                                   Case 19-13858-MAM                          Doc 1     Filed 03/26/19            Page 1 of 12

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                           Chapter you are filing under:
                                                                                      Chapter 7
                                                                                      Chapter 11
                                                                                      Chapter 12

                                                                                      Chapter 13                                      Check if this an
                                                                                                                                      amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Antonio                                                             Liliana
     your government-issued        First name                                                          First name
     picture identification (for
     example, your driver's                                                                            E.
     license or passport).         Middle name                                                         Middle name
     Bring your picture
     identification to your
                                   Elera                                                               Elera
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                            Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years                                                                          Liliana Elescano Elera
                                                                                                       Liliana Elizabeth Elera
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-3888                                                         xxx-xx-4172
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
                                 Case 19-13858-MAM                     Doc 1        Filed 03/26/19        Page 2 of 12
Debtor 1   Antonio Elera
Debtor 2   Liliana E. Elera                                                                           Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 10389 Carmen Ln
                                 West Palm Beach, FL 33411
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Palm Beach
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
                                 Case 19-13858-MAM                      Doc 1        Filed 03/26/19            Page 3 of 12
Debtor 1    Antonio Elera
Debtor 2    Liliana E. Elera                                                                              Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                                   Case 19-13858-MAM                  Doc 1         Filed 03/26/19                  Page 4 of 12
Debtor 1    Antonio Elera
Debtor 2    Liliana E. Elera                                                                               Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                                     Case 19-13858-MAM                    Doc 1        Filed 03/26/19       Page 5 of 12
Debtor 1    Antonio Elera
Debtor 2    Liliana E. Elera                                                                           Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
                                 Case 19-13858-MAM                     Doc 1        Filed 03/26/19             Page 6 of 12
Debtor 1    Antonio Elera
Debtor 2    Liliana E. Elera                                                                              Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Antonio Elera                                                 /s/ Liliana E. Elera
                                 Antonio Elera                                                     Liliana E. Elera
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     March 26, 2019                                    Executed on     March 26, 2019
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
                                Case 19-13858-MAM                        Doc 1    Filed 03/26/19              Page 7 of 12
Debtor 1   Antonio Elera
Debtor 2   Liliana E. Elera                                                                               Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Yoli A Suarez                                                  Date         March 26, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Yoli A Suarez 88847
                                Printed name

                                Bankruptcy Legal Services, P.A.
                                Firm name

                                225 Alcazar Avenue
                                Miami, FL 33134
                                Number, Street, City, State & ZIP Code

                                Contact phone     786-332-7076                               Email address         yolisuarez.esq@gmail.com
                                88847 FL
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
    Case 19-13858-MAM   Doc 1   Filed 03/26/19   Page 8 of 12


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




            Internal Revenue Service
            PO BOX 7346
            Philadelphia, PA 19101


            Internal Revenue Service
            PO BOX 7346
            Philadelphia, PA 19101


            Internal Revenue Service
            PO BOX 7346
            Philadelphia, PA 19101


            Ability Recovery Service
            Attn: Bankruptcy
            Po Box 4262
            Scranton, PA 18505


            Act Lending, Corp
            481 Sawgrass Corporate Parkway
            Fort Lauderdale, FL 33325


            AmeriCredit/GM Financial
            Attn: Bankruptcy
            Po Box 183853
            Arlington, TX 76096


            Bank Of America
            4909 Savarese Circle
            Fl1-908-01-50
            Tampa, FL 33634


            Capital One
            Attn: Bankruptcy
            Po Box 30285
            Salt Lake City, UT 84130


            Capital One
            Attn: Bankruptcy
            Po Box 30285
            Salt Lake City, UT 84130


            Capital One
            Attn: Bankruptcy
            Po Box 30285
            Salt Lake City, UT 84130
Case 19-13858-MAM   Doc 1   Filed 03/26/19   Page 9 of 12



        Chrysler Financial/TD Auto
        Attn: Bankruptcy
        Po Box 9223
        Farmington Hills, MI 48333


        Citibank/Best Buy
        Attn: Recovery/Centralized Bankruptcy
        Po Box 790034
        St Louis, MO 63179


        Citibank/Sears
        Attn: Bankruptcy
        Po Box 6275
        Sioux Falls, SD 57117


        Com Prof Rec
        Po Box 12174
        Wichita, KS 67277


        Comenity Bank/Mandees
        Attn: Bankruptcy
        Po Box 182125
        Columbus, OH 43218


        Credit One Bank
        Attn: Bankruptcy Department
        Po Box 98873
        Las Vegas, NV 89193


        Credit One Bank
        Attn: Bankruptcy Department
        Po Box 98873
        Las Vegas, NV 89193


        Credit One Bank
        Attn: Bankruptcy Department
        Po Box 98873
        Las Vegas, NV 89193


        Dell Financial Services LLC
        Attn: President/CEO
        Po Box 81577
        Austin, TX 78708
Case 19-13858-MAM   Doc 1   Filed 03/26/19   Page 10 of 12



        Department of Education/Nelnet
        Attn: Claims
        Po Box 82505
        Lincoln, NE 68501


        Department of Education/Nelnet
        Attn: Claims
        Po Box 82505
        Lincoln, NE 68501


        Department of Education/Nelnet
        Attn: Claims
        Po Box 82505
        Lincoln, NE 68501


        Ditech
        Attn: Bankruptcy
        Po Box 6172
        Rapid City, SD 57709


        Diversified Consultants, Inc.
        Attn: Bankruptcy
        Po Box 551268
        Jacksonville, FL 32255


        EMC Mortgage, LLC
        2780 Lake Vista Dr.
        Lewisville, TX 75067


        FedLoan Servicing
        Attn: Bankruptcy
        Po Box 69184
        Harrisburg, PA 17106


        FedLoan Servicing
        Attn: Bankruptcy
        Po Box 69184
        Harrisburg, PA 17106


        FedLoan Servicing
        Attn: Bankruptcy
        Po Box 69184
        Harrisburg, PA 17106
Case 19-13858-MAM   Doc 1   Filed 03/26/19   Page 11 of 12



        FedLoan Servicing
        Attn: Bankruptcy
        Po Box 69184
        Harrisburg, PA 17106


        FedLoan Servicing
        Attn: Bankruptcy
        Po Box 69184
        Harrisburg, PA 17106


        FedLoan Servicing
        Pob 60610
        Harrisburg, PA 17106


        FedLoan Servicing
        Attn: Bankruptcy
        Po Box 69184
        Harrisburg, PA 17106


        Mathew T. Wasinger, Esq.
        Wasinger Law Office, PLLC
        605 East Robinson Street
        Suite 730
        Orlando, FL 32801


        Merrick Bank/CardWorks
        Attn: Bankruptcy
        Po Box 9201
        Old Bethpage, NY 11804


        Nissan Motor Acceptance
        Attn: Bankruptcy Dept
        Po Box 660360
        Dallas, TX 75266


        Personal Investment Inc
        15210 N. Scottscale Rd
        Scottsdale, AZ 85254


        Pnc Bank
        Atn: Bankruptcy Department
        Po Box 94982: Ms: Br-Yb58-01-5
        Cleveland, OH 44101
Case 19-13858-MAM   Doc 1   Filed 03/26/19   Page 12 of 12



        US Department of Education
        Attn: Bankruptcy
        Po Box 16448
        St. Paul, MN 55116


        US Department of Education
        Attn: Bankruptcy
        Po Box 16448
        St. Paul, MN 55116


        US Department of Education
        Attn: Bankruptcy
        Po Box 16448
        St. Paul, MN 55116


        US Dept of Education
        Attn: Bankruptcy
        Po Box 16448
        Saint Paul, MN 55116
